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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION

   BRIGHT DATA LTD.,                               §
                                                   §
                Plaintiff,                         §
                                                   §
   v.                                              §         Case No. 2:21-cv-00225-JRG-RSP
                                                   §
   NETNUT LTD.,                                    §
                                                   §
                Defendant.                         §

                                                ORDER

         Before the Court is the Motion to Extend the Deadline for Amending Infringement

  Contentions in the Discovery Order filed by Plaintiff Bright Data Ltd. Dkt. No. 80. Bright Data

  asks the Court to extend the deadline to amend infringement contentions to February 4, 2022,

  which is 30 days after Bright Data’s expert could begin review of Defendant NetNut Ltd.’s source

  code. Although the code was available for review beginning on December 14, 2021, Dkt. No. 82

  at 3, Bright Data claims that its code reviewer could not begin reviewing the code until January 5,

  2022 “due to the holidays and his work schedule.” Dkt. No. 80 at 1. Additionally, Bright Data

  argues that extending the deadline will not affect any other deadlines in the case. Id. at 2.

         In response, NetNut argues that the extension would affect other deadlines, particularly

  deadlines for claim construction, and that Bright Data has failed to show good cause for the

  extension. Dkt. No. 82 at 1-2. As to deadlines, NetNut argues that this extension would push the

  deadline to amend infringement contentions past the deadline for filing the Joint Claim

  Construction Statement pursuant to P.R. 4-3, currently due on January 26. Id. at 2. Additionally,

  NetNut argues that Bright Data’s reason for why its code reviewer could not begin working until

  January 5 does not excuse its lack of preparation and failure to ensure its code reviewer could

  begin reviewing the code on December 14. Id. at 2-3.
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         The Court finds Bright Data has failed to demonstrate good cause to extend the deadline

  for a full 30 days. However, the Court recognizes the importance of the source code review, and

  given the date of this Order, the Court GRANTS-IN-PART the motion. It is therefore

  ORDERED that the deadline to amend infringement contentions is extended to January 26,

  2022. To address some of NetNut’s concerns, the Court further ORDERS that the deadline to

  file the Joint Claim Construction Statement pursuant to P.R. 4-3 is extended to February 2, 2022.
           SIGNED this 3rd day of January, 2012.
         SIGNED this 11th day of January, 2022.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE
